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                          UNITED STATES DISTRICT COURT
                            DISTRICT OF CONNECTICUT

DONNA PARRIS,                             :       No. 3:10cv1128 (WWE)
         Plaintiff,                       :
                                          :
v.                                        :
                                          :
CHARLES PAPPAS, et al.,                   :
         Defendants.                      :
                                          :

                                          ORDER

       Upon de novo review and over objection, the Court hereby approves and adopts

Magistrate Judge Fitzsimmons’s recommended ruling on damages [doc. #112].

       The clerk is instructed to enter judgment in plaintiff’s favor awarding $112,407 in

compensatory damages and $150,000 in punitive damages for a total award of

$262,407. Plaintiff may file a bill of costs within ten days after entry of judgment.

       The clerk is instructed to close this case.

                                         __________/s/_________________________
                                         Warren W. Eginton
                                         Senior United States District Judge


      Dated this __2d__ day of February, 2012 at Bridgeport, Connecticut.
